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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    ELEANOR and ROCCO CIOFOLETTI
    and LARRY STOSPAL, on behalf of
    themselves and all others similarly                Case No.: 0-18-cv-03025-JNE-ECW
    situated,

                          Plaintiffs,                  STIPULATION FOR AMENDED
                                                       PRETRIAL SCHEDULING
    -vs-                                               ORDER

    SECURIAN FINANCIAL GROUP, INC.,
    MINNESOTA LIFE INSURANCE
    COMPANY, SHURWEST, LLC,
    SECURIAN LIFE INSURANCE
    COMPANY and MINNESOTA
    MUTUAL COMPANIES, INC.,

                          Defendants.

       Pursuant to this Court’s Order dated February 26, 2020 (ECF No. 129), the parties,

through their undersigned counsel, hereby stipulate 1 to amend the Court’s Pretrial

Scheduling Order dated May 9, 2019 (ECF No. 72) as set forth below.

TELEPHONE STATUS CONFERENCE

       A telephone status conference to update the Court on discovery and the parties’

positions with respect to the timing of a settlement conference is scheduled for

__________________, at __________. Chambers will circulate dial-in information in

advance of the status conference.



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  Defendant Shurwest takes a differing position on whether the schedule should be set
past Plaintiffs’ motion for class certification, which it will explain in a separately filed
letter.
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PRESERVATION OF DOCUMENTS AND ELECTRONIC DISCOVERY


       The parties shall be subject to and abide by the Protective Order (ECF No. 75)

previously entered in this action. The parties will continue to abide by the Stipulated

Electronic Discovery Protocol previously filed with this court (ECF No. 67).

DEADLINES FOR INITIAL DISCLOSURES AND FACT DISCOVERY

       1.     Shurwest must make its initial disclosures under Fed. R. Civ. P. 26(a)(1) on
              or before October 30, 2020.

       2.     Fact discovery shall close on or before May 1, 2021.

ADDITIONAL DISCOVERY LIMITATIONS

       The following discovery limitations apply:

       1.     No more than a total of 25 interrogatories, counted in accordance with Rule
              33(a), shall be served by plaintiffs upon either defendant group (i.e.,
              Securian group of defendants and Shurwest defendant) and each defendant
              group shall serve no more than 25 interrogatories on the plaintiffs
              collectively.

       2.     Document requests shall not be limited. The parties understand that
              objections to document requests must meet the requirements of amended
              Rule 34(b)(2)(B).

       3.     No more than 25 requests for admissions shall be served by Plaintiffs and
              either defendant group (i.e., Securian group of defendants and Shurwest
              defendant) upon any other party group.

       4.     No more than 22 depositions, excluding expert witness depositions, shall be
              taken by plaintiffs and defendants shall collectively be limited to 22
              depositions. Plaintiffs or Defendants may determine additional depositions
              beyond this number are needed. If that happens, the Parties will meet and
              confer in an attempt to reach agreement on additional depositions. If the
              Parties are unable to reach agreement, the Party, or Parties, seeking
              additional depositions may request additional depositions from the Court.




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CLASS CERTIFICATION MOTION

       Plaintiffs shall file and serve their motion for class certification on or before

January 29, 2021.

       Plaintiffs shall disclose the identities of any expert witnesses offered at the class

certification stage and provide written reports and other disclosures required under Fed.

R. Civ. P. 26(a)(2)(A)(B) and (C) at the time of filing of Plaintiff’s Motion for Class

Certification.

       Defendants shall disclose the identities of any expert witnesses offered at the class

certification stage and provide written reports and other disclosures required under Fed.

R. Civ. P. 26(a)(2)(A)(B) and (C) at the time of filing of Defendants’ Opposition to

Plaintiff’s Motion for Class Certification.

       Plaintiffs may file a reply to any opposition served by Defendants and designate

rebuttal expert. The timing of submission of oppositions and reply briefs shall be as

follows: Defendants must file and serve any opposition or before March 30, 2021 (60

days after Plaintiffs file their motion for class certification). Plaintiffs must file any reply

to any opposition filed by Defendants on or before May 14, 2021 (45 days after Plaintiffs

file their motion for class certification).

       Plaintiffs shall call Cathy Cusack, District Judge Joan N. Ericksen’s Courtroom

Deputy, at 612-664-5890 to schedule the hearing for the class certification motion.




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DEADLINE FOR NON-CLASS CERTIFICATION EXPERT DISCOVERY


      Disclosure of the identity of expert witnesses under Rule 26(a)(2)(A) and the full

disclosures required by Rule 26(a)(2)(B), and production of the written report prepared

and signed by the expert witness, must be made as follows:

      1.     Plaintiffs anticipate calling up to 3 experts. The Securian Defendants
             anticipate calling up to 3-4 experts. Each side may take one deposition per
             expert.

      2.     Disclosure of the identities of expert witnesses under Rule 26(a)(2)(A) and
             the full disclosures required by Rule 26(a)(2)(B) (accompanied by the
             written report prepared and signed by the expert witness) and the full
             disclosures required by Rule 26(a)(2)(C), shall be made as follows:

             a)     Identities of testifying experts and disclosures by the party with the
                    burden of proof on or before June 25, 2021.

             b)     Rebuttal identities of testifying experts and disclosures on or before
                    August 6, 2021.

      3.     Expert discovery, including depositions, shall be completed by September
             17, 2021.

NON-CLASS CERTIFICATION EXPERT DISCOVERY

      1.     If any party determines that it will call any expert witness at trial whose
             opinions and report have not already been disclosed in the class
             certification stage of the action, the parties propose that the Court establish
             the following plan for such additional expert discovery:

             a)     Plaintiffs anticipate calling up to 3 experts at trial. Defendant
                    Securian anticipates calling up to 3-4 experts and Shurwest
                    anticipates calling up to 2-3 experts. Each expert may be deposed
                    only once and only for the time permitted under the FRCP, unless
                    the parties agree otherwise;

                    i)     Plaintiffs believe that deadlines should be identified by who
                           bears the burden of proof on an issue.



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             b)     Disclosure of the identities of expert witnesses under Rule
                    26(a)(2)(A) and the full disclosures required by Rule 26(a)(2)(B)
                    (accompanied by the written report prepared and signed by the
                    expert witness) and the full disclosures required by Rule 26(a)(2)(C),
                    shall be made by June 25, 2021.


                    i)     Rebuttal identities of testifying experts and disclosures on or
                           before August 6, 2021.

             c)     Expert discovery, including depositions, shall be completed by
                    September 17, 2021.

NON-DISPOSITIVE MOTION DEADLINES

      The parties propose the following deadlines for filing non-dispositive motions:

      1.     Except as provided in paragraph 4 below, all non-dispositive motions and
             supporting documents, including those that relate to fact discovery, shall be
             filed and served on or before: May 31, 2021.

      2.     All non-dispositive motions and supporting documents that relate to expert
             discovery shall be filed and served on or before: October 1, 2021.


DISPOSITIVE MOTION DEADLINES

       The parties believe that expert discovery must be completed before dispositive
motions are filed. The parties recommend that all dispositive motions be filed and served
on or before November 15, 2021.

SETTLEMENT

      1.     The parties must conduct a meaningful discussion about possible settlement
             before the initial pretrial conference, including a written demand by the
             Plaintiff(s) and a written response by each Defendant. The parties must
             also discuss whether private mediation or an early settlement conference
             with the Court (or another form of alternative dispute resolution) would be
             productive and, if so, when it should occur and what discovery, if any,
             would be necessary to conduct before such a conference.

             The results of that discussion, including any proposals or recommendations,
             are as follows: _______________________________________________.


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    2.   Each party will email to Magistrate Judge Wright’s chambers, no later than
         one (1) week before the pretrial conference, a confidential letter of no more
         than three (3) pages, setting forth what settlement discussions have taken
         place, whether the party believes an early settlement conference would be
         productive, what discovery each party believes is necessary before an early
         settlement conference can take place and any additional, confidential
         information about the party’s interest in settlement or possible settlement
         proposals as may be of assistance to Magistrate Judge Wright in planning
         or furthering early settlement efforts. [NOTE: This confidential letter
         should not advance arguments or positions on issues that may come before
         Magistrate Judge Wright for ruling.]

    3.   The Court will discuss this topic with the parties at the pretrial conference
         and will set a date for an early settlement conference or for a status
         conference to determine when the case will be ready for a productive
         settlement conference.

TRIAL

    1.   Trial by Magistrate Judge:

         The parties have not agreed to consent to jurisdiction by the Magistrate
         Judge pursuant to Title 28, United States Code, Section 636(c). (If the
         parties agree, the consent form, signed by both parties, should be filed with
         the Clerk of Court.) Please note that if the parties consent to magistrate
         judge jurisdiction, all proceedings, including trial by jury, if any, will be
         before the magistrate judge assigned to the case.

    2.   The parties agree that this case will be ready for trial on February 1, 2022.

         a)     The anticipated length of the jury trial is 8-14 days.




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